      Case 9:25-cv-00067-DLC     Document 29    Filed 06/27/25   Page 1 of 8



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


BNSF RAILWAY COMPANY, on                            CV 25–67–M–DLC
behalf of THE UNITED STATES OF
AMERICA,

       Plaintiff/Judgment Creditor,                      ORDER

       vs.

THE CENTER FOR ASBESTOS
RELATED DISEASE,

       Defendant/Judgment Debtor.


      Before the Court are: the United States of America’s Motion to Quash (Doc.

1-3); Interested Parties Charles B. Black, Michelle Boltz, Tracy McNew, Miles

Miller, and Karen Lee Morissette’s (“CARD Employees”) Motion to Intervene

(Doc. 7); Defendant/Judgment Debtor the Center for Asbestos Related Disease’s

(“CARD”) Motion to Join the United States of America’s Motion to Quash Writ

and Motion for Preliminary Injunction (Doc. 10); and the United States of

America’s Motion to Intervene (Doc. 11). On June 12, 2025, the Court held a

hearing on the Motions. (Doc. 25.) For the reasons herein, the Government’s

Motion to Quash, CARD’s Motion for Joinder, and CARD’s Motion for

Preliminary Injunction are DENIED. CARD Employees’ Motion to Intervene and

the Government’s Motion to Intervene are GRANTED.
                                        1
      Case 9:25-cv-00067-DLC      Document 29     Filed 06/27/25   Page 2 of 8



                                      BACKGROUND

      On March 6, 2019, BNSF Railway Company (“BNSF”) filed a Complaint in

this Court alleging that CARD had violated the False Claims Act (“FCA”). See

Complaint, BNSF Ry. Co. v. Ctr. for Asbestos Related Disease, Inc., No. CV-19-

40-M-DLC (D. Mont. Mar. 6, 2019), ECF No.1 [hereinafter BNSF I]. Pursuant to

31 U.S.C. § 3730(b)(2), the United States had 60 days to intervene in the action.

The Government moved for five extensions and ultimately, on February 18, 2021,

the Government chose not to intervene. Id., ECF 23. BNSF moved forward with

litigating the case over a course of two years at its own expense and without the

Government’s assistance.

      On June 28, 2023, a jury found that CARD had committed a total of 337

violations of the FCA by defrauding the federal government and the American

taxpayer. Id., ECF 216. On July 18, 2023, the Court issued an Order awarding

BNSF 25% of the total proceeds of a total of $5,826,023 in damages and penalties

against the CARD clinic. Id., ECF 233. The Court subsequently granted BNSF

$1,101,279.38 in attorneys’ fees and $322,657.20 in costs. Id., ECF 267. CARD

appealed to the Ninth Circuit Court of Appeals; the Ninth Circuit affirmed the

jury’s verdict on September 24, 2024. BNSF Ry. Co. v. Ctr. for Asbestos Related

Disease, Inc., No. 23-35507, 2024 WL 4273814 (9th Cir. Sept. 24, 2024).

      On March 15, 2024, BNSF, the Government, and CARD entered into a

                                         2
       Case 9:25-cv-00067-DLC     Document 29     Filed 06/27/25   Page 3 of 8



stipulation as part of the federal bankruptcy proceedings that followed this Court’s

judgment against CARD. (Doc. 14-9.) That stipulation provides, in relevant part,

the following:

       The Debtor [CARD] has a small amount of non-grant income which
       was commingled with grant income including a post-petition transfer
       into a debtor-in-possession bank account.
       ...

       Federal grant money and property held in trust for the benefit of the United
       States cannot be used to pay the FCA judgment and/or related costs and
       expenses, including attorney fees and costs.

(Id. at 2–3.)

       On February 12, 2025, BNSF filed a Writ of Execution in the Nineteenth

Judicial District Court of Montana in Lincoln County. (Doc. 1-2 at 8.) The Lincoln

County Sheriff’s Office received the Writ on March 5. (Id.) The Writ allows the

Sheriff to seize the following property from CARD: two bank accounts, office

equipment, office furniture, machinery and equipment, and the real property where

the CARD clinic is located. (Id. at 4–7.) On May 7, the sheriff seized the property

that was subject to the Writ. (See Doc. 14 at 33.) The property was originally set to

be sold at auction on July 2, 2025.

       On May 9, 2025, the United States filed a Motion to Quash Writ in the

Nineteenth Judicial District Court of Montana. (Doc. 1-3.) The same day, the

United States removed the case to this Court. (Doc. 1.)

       Since the case was removed, the United States and CARD Employees have
                                          3
        Case 9:25-cv-00067-DLC     Document 29     Filed 06/27/25    Page 4 of 8



each filed a Motion to Intervene. (Docs, 7, 11.) In addition, CARD filed a Motion

for Joinder and a Motion for Preliminary Injunction/TRO. (Doc. 9.)

        Following the Court’s hearing on the pending motions, BNSF filed an

affidavit of Sheriff Darren Short who issued the Notice of Sale for July 2, 2025.

(Doc. 28-1.) Through the affidavit, Sheriff Short “request[ed] that the Court issue

an Order directing that the July 2, 2025 sale be stayed and not occur until and

unless an order is issued by Judge Christensen authorizing the sale.” (Id. ¶ 7.)

                                          DISCUSSION

   I.      Motion to Quash and Motion for Joinder

        The Government seeks to quash the writ of execution, arguing that BNSF

does not have the authority to act on behalf of the United States and that the United

States holds a federal interest in all property subject to the Writ, which cannot be

sold to satisfy the judgment. (Doc. 1-3 at 6–7.)

        The Government’s arguments are illogical at best. The Government allowed

BNSF to litigate for two years on its behalf. The Government had many

opportunities to intervene; it continually declined to do so. BNSF I, ECF. 23. It

would be nonsensical to allow a third party to litigate on behalf of the United

States but prohibit it from collecting any award it is entitled to for doing so. The

Government indeed holds a federal interest in some of the property subject to the

Writ. But the Government entered into a stipulation in which it agreed that CARD

                                           4
         Case 9:25-cv-00067-DLC     Document 29      Filed 06/27/25   Page 5 of 8



commingled non-grant income with grant income. (Doc. 14-9 at 2.) The

Government lacks interest in any non-grant income. Therefore, the Government’s

Motion to Quash (Doc. 1-3) is DENIED and CARD’s Motion to Join the Motion to

Quash (Doc. 9) is DENIED AS MOOT.

   II.      Government’s Motion to Intervene

         The Government contends that it is entitled to intervention as a matter of

right. The Court reluctantly agrees.

         Under Federal Rule of Civil Procedure 24(a)(2), a Court must grant

intervention of right “by a movant who claims an interest relating to the property

or transaction that is the subject of the action, and is so situated that disposing of

the action may as a practical matter impair or impede the movant's ability to

protect its interest, unless existing parties adequately represent that interest.” In

analyzing a motion to intervene as of right, the Ninth Circuit requires the moving

party to satisfy four elements: “(1) the motion must be timely; (2) the applicant

must claim a ‘significantly protectable’ interest relating to the property or

transaction which is the subject of the action; (3) the applicant must be so situated

that the disposition of the action may as a practical matter impair or impede its

ability to protect that interest; and (4) the applicant’s interest must be inadequately

represented by the parties to the action.” Callahan v. Brookdale Senior Living

Cmtys., Inc., 42 F.4th 1013, 1020 (9th Cir. 2022).

                                            5
      Case 9:25-cv-00067-DLC       Document 29      Filed 06/27/25    Page 6 of 8



      Here, while the Government had years to intervene in BNSF I and chose not

to, the Government’s Motion to intervene in this case is timely. The Government

learned of the Writ of Execution on May 7, 2025, and filed the instant Motion on

May 21, 2025. (Doc. 12 at 6.) Through the stipulation in the bankruptcy

proceeding, the parties agreed that “[CARD’s] income and real and personal

property is held in trust for the benefit of the United States to the extent it was

purchased and maintained with federal grant money.” (Doc. 14-9 at 2.) The

Government thus has a significantly protectable interest in any property or funds

that have not been commingled with non-grant money. As a practical matter, the

disposition of this action would impede the Government’s ability to protect that

interest. And finally, the Government’s interest is not adequately represented by

BNSF, as evidenced by the fact that BNSF opposes the Government’s position.

Likewise, given the jury’s verdict in BNSF I finding that CARD defrauded the

Government, CARD cannot adequately represent the Government here.

      Therefore, the Government’s Motion to Intervene (Doc. 11) is GRANTED.

   III.   Current and Former CARD Employees’ Motion to Intervene

      Current and Former CARD Employees seek to intervene in this case,

arguing that BNSF’s seizure of CARD prevents CARD Employees from

effectively defending themselves in an ongoing malpractice action (“Malpractice

Action”). (Doc. 8 at 6.) In the Malpractice Action, Plaintiffs allege that “CARD

                                           6
       Case 9:25-cv-00067-DLC       Document 29     Filed 06/27/25    Page 7 of 8



and CARD Employees committed medical malpractice and other torts by

misdiagnosing Plaintiffs with asbestos-related disease, leading Plaintiffs to

experience distress and to fail to treat other medical issues.” (Id. at 6 (citing 8-7 ¶¶

284–354).)

       The Court agrees CARD Employees are entitled to intervention as a matter

of right. First, CARD Employees’ Motion is timely. The Writ of Execution was

executed on May 7, 2025. (Doc. 1-2 at 9.) CARD employees filed the instant

Motion on May 15, 2025. (Doc. 7.) Second, CARD Employees have a significantly

protectable interest in the property at issue. Specifically, CARD Employees have

an interest in the patient records, administrative records, and other materials

necessary to defend themselves in the Malpractice Action. As a practical matter,

the disposition of this case and the pending sale of the property at issue could

impede CARD Employees’ ability to defend itself in the Malpractice Action.

Finally, the existing parties cannot adequately represent CARD Employees’

interests.

       Therefore, CARD Employees’ Motion to Intervene (Doc. 7) is GRANTED.

   IV.       Motion for Preliminary Injunction/TRO

       To obtain emergency injunctive relief—whether that be a temporary

restraining order or preliminary injunction—a plaintiff must establish: (1) a

likelihood of success on the merits; (2) a likelihood of irreparable harm in the

                                           7
       Case 9:25-cv-00067-DLC      Document 29      Filed 06/27/25    Page 8 of 8



absence of preliminary relief; (3) that the equities balance in the plaintiff’s favor;

and (4) that preliminary injunctive relief would serve the public interest. See

Winter v. Natural Res. Def Council, Inc., 555 U.S. 7, 20 (2008).

       CARD fails to establish the first element because, as outlined above, the

United States’s Motion to Quash will be DENIED. Therefore, CARD’s Motion for

Preliminary Injunction/TRO must also be DENIED.

                                        CONCLUSION

       Accordingly, IT IS ORDERED that the Motion to Quash (Doc. 1-3) and

Motion for Joinder and Preliminary Injunction (Doc. 9) are DENIED. CARD

Employees’ Motion to Intervene and the United States of America’s Motion to

Intervene (Docs. 7, 11) are GRANTED.

       IT IS FURTHER ORDERED that the scheduled auction of CARD’s assets

seized pursuant to the Writ of Execution is STAYED until the Parties have

completed a debtor’s exam pursuant to Mont. Code Ann. § 25-14-101, and the

Court lifts the stay.

       IT IS FURTHER ORDERED that on or before July 11, 2025, the Parties

shall file a joint status report informing the Court as to how they wish to proceed

with the debtor’s exam.

       DATED this 27th day of June, 2025.




                                           8
